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                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF TEXAS
                                    AMARILLO DIVISION


PRESIDENT DONALD J. TRUMP,
an individual, and REPRESENTATIVE
RONNY JACKSON, an individual,
                                                         Case 2:24-CV-00236-Z
                         Plaintiffs,

        v.

PARAMOUNT GLOBAL d/b/a
PARAMOUNT, a Delaware
corporation, CBS BROADCASTING
INC., a New York corporation, and CBS
INTERACTIVE, INC., a Delaware
corporation,


                         Defendants.


        CONSENT MOTION FOR TEMPORARY STAY OF ALL PROCEEDINGS

        Plaintiffs, President Donald J. Trump and Representative Ronny Jackson, together with

Defendants Paramount Global d/b/a Paramount, CBS Broadcasting Inc., and CBS Interactive,

Inc., (together, the “Parties”), respectfully request that the Court stay all proceedings in the

above-captioned case, including all discovery deadlines and all motion practice, until July 3,

2025.

        The Parties respectfully submit that good cause to stay all proceedings exists because the

Parties are engaged in good faith, advanced, settlement negotiations.




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        Plaintiffs’ counsel has conferred with counsel for Defendants, and all Parties have

consented to this motion in writing.

DATED: June 30, 2025

                                               Respectfully submitted,

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                                                 /s/ Edward Andrew Paltzik
                                               Edward Andrew Paltzik

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                                                  /s/ Daniel Z. Epstein
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                                                  /s/ Chris D. Parker
                                               Chris D. Parker

                                               Counsel for Plaintiffs, President Donald J. Trump
                                               and Representative Ronny Jackson


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                                CERTIFICATE OF CONFERENCE

      I certify that on the 30th day of June, 2025 I conferred with attorney Elizabeth
McNamara, counsel for Defendants. Ms. McNamara stated that she is in agreement with this
Motion.


                                                     /s/ Edward Andrew Paltzik
                                               Edward Andrew Paltzik



                                    CERTIFICATE OF SERVICE

        I certify that a copy of the foregoing document was served pursuant to the Federal Rules
of Civil Procedure on the 30th day of June, 2025, via the Northern District of Texas’s electronic
filing notification system.


                                                  /s/ Chris D. Parker
                                               Chris D. Parker




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